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                           No. 22-20095
                     _______________________

                    United States Court of Appeals
                         For the Fifth Circuit
                        __________________

    JOSE FLORES; JEAN ROMERO-RODRIGUEZ; BRANDON VILLARREAL,

                                                Plaintiffs-Appellants,
                                    v.

                          FS BLINDS, L.L.C.,

                                      Defendant-Appellee.
_____________________________________________________________

          On Appeal from the United States District Court
        For the Southern District of Texas Houston Division
 _________________________________________________________

               Brief of Appellee FS Blinds, LLC
 _________________________________________________________

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                 CERTIFICATE OF INTERESTED PERSONS
                                 No. 22-20095
            Jose Flores; Jean Romero-Rodriguez; Brandon Villarreal,
                                      v.
                                FS Blinds, LLC

      The undersigned counsel of record certifies that the following listed persons

and entities as described in Fifth Circuit Rule 28.2.1 have an interest in the outcome

of this case. These representations are made in order that the judges of this Court

may evaluate possible disqualification or recusal.

      1. FS Blinds, LLC, Appellee;

      2. Stephen H. Lee and Kelly R. Ferrell, PORTER HEDGES LLP, Counsel
         for FS Blinds, LLC;

      3. Jose Flores, Jean Romero-Rodriguez, and Brandon Villarreal, Appellants;
         and

      4. Andrew S. Golub and Lauren Van Ness, DOW GOLUB REMELS &
         GILBREATH, PLLC.



                                               /s/ Stephen H. Lee
                                               Stephen H. Lee
                                               Attorney of record for FS Blinds,
                                               LLC




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             STATEMENT REGARDING ORAL ARGUMENT

      Appellee FS Blinds LLC, respectfully submits that the issues raised in this

appeal do not warrant oral argument. This case does not involve complex issues of

fact or law. The undisputed facts are adequately presented in the record on appeal,

and the controlling legal principles are well-established under Fifth Circuit

precedent. However, to the extent the Court determines that its decisional process

would be aided by oral argument, FS Blinds LLC would welcome the opportunity

to present its position.




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                     STATEMENT OF JURISDICTION

      FS Blinds LLC (“FS Blinds” or “Appellee”) accepts the jurisdictional

statement set forth by Appellants Jose Flores (“Flores”), Jean Romero-Rodriguez

(“Romero-Rodriguez”), and Brandon Villarreal (“Villarreal”) (collectively,

“Appellants”).




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                      ISSUES PRESENTED FOR REVIEW

      1.     Whether the District Court, applying the lower standard of proof set

forth in Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680 (1946), properly granted

summary judgment for FS Blinds on the basis that Appellants lacked prima facie

evidence of uncompensated overtime because the evidence established that

Appellants could not (1) have worked overtime in all of the weeks claimed, (2)

explain how they worked overtime in any week claimed, and (3) remember if they

worked overtime in every week claimed.

      2.     Whether the District Court properly denied Appellants’ motion for

summary judgment as to liability and damages when Appellants failed to meet their

prima facie burden.

      3.     If this Court decides that summary judgment on Appellants’ claims for

unpaid overtime was improper, whether the judgment for FS Blinds should be

affirmed on the alternative ground raised in FS Blinds’ motion for summary

judgment denied by the district court that Appellants were independent contractors

under the Fifth Circuit’s economic realities test.

                          STATEMENT OF THE CASE

A.    Course of Proceedings and Disposition Below.

      This case arises from Plaintiffs-Appellants claims that they were misclassified

as independent contractors and denied overtime compensation in violation of the



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Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 203, et. seq., while working for

Defendant-Appellee FS Blinds. ROA.9-17. Appellants claim they worked an

average of 70 hours a week for every week they performed work for FS Blinds.

ROA.532-36.

       Appellants moved for summary judgment as to liability and damages, arguing

there was no dispute of material fact that Appellants were employees for purposes

of the FLSA and that they worked an average of 70 hours a week. ROA.191-211.

FS Blinds filed a competing motion for summary judgment, arguing Appellants were

independent contractors, and, alternatively, Appellants could not meet their prima

facie burden to establish they performed uncompensated overtime work. ROA.423-

443.

       In support of their overtime claim, Appellants offered post-deposition

declarations, the deposition testimony of a FS Blinds manager, and summaries of

selective work orders created by Appellants’ attorney. ROA.1797-99.

       United States District Judge Alfred H. Bennett denied Appellants’ motions

and granted FS Blinds’ motion, and made the following rulings:

             1.    Plaintiffs failed to meet their burden of producing sufficient
                   evidence to show the amount and extent of overtime work as a
                   matter of just and reasonable inference.

             2.    Plaintiffs failed to offer evidence to create a genuine dispute of
                   material fact as to their overtime worked.




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            3.     A genuine question of material fact existed regarding whether
                   Appellants were independent contractors or employees under the
                   FLSA.

ROA.2143-2148.

      The District Court’s Order cited to Appellants’ deposition admissions, which

proved Appellants could not have worked the hours claimed.               ROA.2147.

Appellants’ post-deposition declarations were insufficient to meet their burden

under controlling Fifth Circuit precedent, because they were unsubstantiated,

conclusory, and directly contradicted by Appellants’ deposition admissions. See

Fairchild v. All Am. Check Cashing, Inc., 815 F.3d 959, 965 (5th Cir. 2016); Harvill

v. Westward Commc’ns, L.L.C., 433 F.3d 428, 441 (5th Cir. 2005). Further, the

District Court implicitly rejected Appellants’ additional evidence—e.g., the

inadmissible documents created by Appellants’ attorney.

      The District Court applied controlling Supreme Court and Fifth Circuit

precedent, which lowered Appellants’ burden of proof to a “just and reasonable

inference” standard due to the lack of employer-maintained time records.

ROA.2146. The District Court held that “[e]ven with the lowered burden of proof,”

Appellants failed to meet their burden. ROA.2147-2148.

B.    Statement of Facts.

      The following undisputed facts are set forth in the record and derived almost

exclusively from Appellants’ own deposition testimony.



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      1.    FS Blinds engaged Appellants as independent contractors.

       FS Blinds sells, supplies, and installs window coverings primarily to

residential builders for new homes. ROA.10. FS Blinds engaged Appellants as

independent contractors (“IC”s) to install window coverings (typically, blinds) for

FS Blinds’ customers. ROA.491-525.

      Appellants    signed    Independent       Subcontractor    Agreements      (the

“IC Agreements”) defining the working relationship as that of an IC and disclaiming

any inference of an employer-employee relationship.           ROA.491-525.       Each

Appellant signed their respective IC Agreement as a “Sole Proprietorship.”

ROA.497; ROA.506; ROA.525.            Appellants were free to terminate their

relationships with FS Blinds at any time, with or without cause.           ROA.494;

ROA.503; ROA.521. The IC Agreements did not prohibit Appellants from working

for FS Blinds’ competitors. ROA.491-525.

      Flores performed work for FS Blinds from April 15, 2018 through October 6,

2019. ROA.532-33. Villarreal’s work for FS Blinds spanned from August 5, 2018

through April 5, 2020, with several stretches when he did not work for FS Blinds.

ROA.535-36. Romero-Rodriguez worked for FS Blinds for less than eight months,

from March 4, 2019 through October 23, 2019, and did not work for at least one

week during that period. ROA.534. Appellants sometimes worked less than a five-

day workweek. ROA.467; ROA.570.



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      2.    Appellants worked on a job-by-job basis with discretion over their
            schedules.

      At least one day prior, FS Blinds sent Appellants a schedule with available

jobs for the next day. ROA.546. FS Blinds assigned Appellants work on a job-by-

job basis based on customer requests. ROA.466; ROA.567. Appellants understood

they were not guaranteed work or that they would be on the schedule on any

particular day. ROA.466; ROA.566. Appellants could request not to be scheduled,

and FS Blinds granted those requests without penalty. ROA.567-69; ROA.1050. If

the schedule was light, Appellants decided whether to take work.           ROA.452;

ROA.712-13 (discussing ROA.632).

      Unless the customer requested a certain timeframe, Appellants had discretion

to plan their routes, order of jobs, and when to perform the work. ROA.453-54

(discussing ROA.619); ROA.707-11 (discussing ROA.621).             For example, the

schedule might request that a job be completed within a certain timeframe due to a

customer preference. ROA.1054-55. Even then, Appellants had discretion to

determine the route, order, and time of the work so long as they met the customer’s

request. ROA.1054-55. On all other occasions, the time slot on Appellants’

schedules stated “ANY TIME,” granting Appellants discretion to perform the work

at any time during the day. ROA.453-54. Appellants were free to determine when

to take breaks and for how long. ROA.559-60.




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      After picking-up the blinds at FS Blinds’ warehouse, Appellants did not return

to FS Blinds until the next time they were scheduled for work. ROA.1046. Once at

the job, Appellants were not required to check-in with FS Blinds when they arrived,

after they completed a job, or left a job site. ROA.458, 463-64; ROA.552; ROA.714,

717-18.

      FS Blinds did not set Appellants’ hours or tell them to work overtime.

ROA.561-63; ROA.718. Appellants did not always complete the jobs on their daily

schedules, choosing instead to carry over work to another day. ROA.564-65;

ROA.719. At times, Flores did not complete a job on the schedule, did not inform

FS Blinds, and instead communicated with the customer to reschedule. ROA.719-

23.

      3.    Appellants completed their work without oversight from FS
            Blinds.

      When Appellants worked at customer homes, no one from FS Blinds was

there. ROA.457-58; ROA.550-51; ROA.714. There was no FS Blinds supervisor

overseeing their work, or anyone, for that matter, instructing Appellants on how to

complete the job. ROA.462; ROA.558; ROA.716. For this reason, Appellants never

received any performance evaluations from FS Blinds. ROA.465; ROA.559. And,

FS Blinds did not require Appellants to wear any type of uniform. ROA.458;

ROA.552; ROA.715.



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      4.     Appellants provided their own tools, equipment, and
             transportation.

      FS Blinds provided window coverings. ROA.455-56, 458-59; ROA.704-05.

FS Blinds did not provide anything else. ROA.715. Appellants provided all other

materials, tools, and equipment, which included: screws, drills, tool bags, handsaws,

box cutters, hammers, toolbars, tape measures, batteries, ladders, chop saws, etc.

ROA.459-61; ROA.555-57; ROA.715-16. FS Blinds did not tell Appellants what or

how much to purchase. ROA.483.

      Appellants also provided their own vehicles to use for their installation work,

and were responsible for all related expenses.          ROA.455-56; ROA.548-49;

ROA.665-66. Appellants used their vehicles to haul the blinds, travel from job to

job, and store all of their equipment and tools. ROA.483; ROA.613; ROA.665-66.

      5.     Appellants hired their own workers.

      Flores and Villarreal also hired their own helpers. ROA.473; ROA.659-60;

ROA.681-83. Appellants’ helpers were not employees or contractors of FS Blinds.

ROA.476. Rather, Appellants controlled all aspects of those working relationships,

and Appellants’ helpers were not required to meet any FS Blinds criteria or approval

(other than not having felony convictions). ROA.475-76.

      Flores and Villarreal determined in their sole discretion how much to pay their

helpers, how often the helpers worked, and the type of work they performed.

ROA.475-76; ROA.661-62, 680-83. They supervised and instructed their helpers,

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and hired/fired them at their discretion. ROA.474-75; ROA.681-83. Flores paid his

helpers between $70-$100/day, and spent $6,000 in 2018 on his helpers. ROA.661;

ROA.663-64 (discussing ROA.743-44). Flores’ 2019 tax return shows that he

deducted $3,800 in contract labor for that tax year. ROA.755-56. Villarreal’s tax

returns show that he deducted $2,800 in contract labor in 2018 and $7,500 in 2019.

ROA.769-70; ROA.782-83.

      6.    Appellants were incentivized to complete more jobs to increase
            their profits.

      FS Blinds paid Appellants for each set of blinds installed.         ROA.451;

ROA.541. The more installs they completed, the more they were paid. ROA.543.

The number of jobs assigned to Appellants was based on what they could accomplish

and their requests for more work. ROA.1043-45, 1047-49, 1058-59. If Appellants

could finish more jobs in a day, FS Blinds gave them more work. ROA.1058-59.

Appellants could increase their profits by working with greater efficiency;

incentivizing them to work quickly and request more work. ROA.451; ROA.542-

43.

      Because Appellants determined when they worked, and sometimes carried

over uncompleted work, Appellants documented when they worked by submitting a

subcontractor draw sheet to FS Blinds for payment. ROA.470-71; ROA.579.




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       7.     Appellants claimed they were sole proprietors and took tax
              deductions for business expenses.

       For each tax year Appellants were engaged by FS Blinds, Appellants

submitted to the IRS a Schedule C (entitled, “Profit or Loss From Business (Sole

Proprietorship)”) with their tax returns. ROA.743-44; ROA.755-56; ROA.769-70;

ROA.782-83; ROA.800-01. On the Schedule Cs, Appellants listed themselves under

“Name of Proprietor,” their home address as the business address, and the amount

of income they received from FS Blinds that year under “Gross receipts or sales.”

ROA.477-79; ROA.485-86; ROA.603-07; ROA.634-37, 684. Appellants deducted

business expenses related to their sole proprietorships from their taxable income—

resulting in significant deductions.         ROA.673-76; ROA.743-44.1             Flores even

deducted the business use of his house. ROA.743; ROA.755. Appellants paid self-

employment tax. See ROA.745. Additionally, Villarreal and Romero-Rodriguez

each took a “Qualified Business Deduction” for each year they performed work for

FS Blinds. ROA.763-64; ROA.777-78; ROA.796-97.




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  In 2018, Flores claimed $43,435 in expenses related to his proprietorship, reducing his taxable
income from $62,866 to $19,431. In 2019, Flores claimed $48,138, reducing his taxable income
from $71,817 to $23,679. ROA.701-03; ROA.755-56. In 2018, Villarreal claimed $15,381,
reducing his taxable income from $33,131 to $17,750. ROA.481-82; ROA.769-70. In 2019,
Villarreal claimed $47,694, reducing his taxable income from $64,519 to $16,825. ROA.488-89;
ROA.782-83. In 2019, Romero-Rodriguez claimed $15,856 in expenses related to his
proprietorship, reducing his taxable income from $31,622 to $15,766. ROA.800-01.

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      8.    Flores purchased blinds for unrelated jobs.

      In 2018 and 2019, Flores purchased blinds from FS Blinds to install at jobs

for entities or individuals other than FS Blinds’ customers. ROA.643-59 (discussing

the invoices in ROA.912-970); ROA.686-700 (discussing the invoices in ROA.912-

70). The invoices for Flores’ purchases state an installation date occurring on

Monday through Friday—i.e., the same workdays that Flores alleges he was

generally scheduled to work for FS Blinds. ROA.912-70.

      9.    It was impossible to have worked the amount of overtime
            Appellants claim.
      In his deposition, Romero-Rodriguez admitted that there are weeks for which

he is claiming overtime even though it was impossible for him to have worked over

40 hours. ROA.594-96 (discussing ROA.971-80 and admitting it was impossible

for him to work over 40 hours when he only worked one day in the week); ROA.580-

94 (discussing ROA.981-1003 and calculating 19.8 hours as the maximum hours

worked for that workweek). This is particularly true given the fact that Romero-

Rodriguez sometimes worked as few as one to three days in a week. ROA.580-99.

      Romero-Rodriguez admitted that his work hours varied and that he did not

always work the same average hours a week. ROA.573-75. The number of jobs

Romero-Rodriguez completed in a week varied. ROA.534. Some weeks he made

as little as $180 and other weeks he made over $1600. ROA.534; ROA.572-75.




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Nonetheless, he “guessed” that 70 hours a week was his “best average” of hours

worked. ROA.586-87, 600.

      Romero-Rodriguez and Villarreal each admitted they had no way of

substantiating or explaining how they worked over 40 hours in any workweek.

ROA.472; ROA.594, 599-600. When asked if he, in fact, worked over 40 hours in

every week, Romero-Rodriguez answered: “I cannot remember.” ROA.576.

      Villarreal’s compensation each workweek varied significantly, sometimes

making only $97.00 a week and others over $2,000.00. ROA.535-36. There were

workweeks where he only worked one day a week—making it impossible for him

to have worked overtime during those weeks. ROA.1035-41.

      Flores alleges that for all weeks during the 18-months he worked for FS

Blinds he worked an average of 70 hours a week. ROA.532-33. Yet, Flores admitted

that he worked less than 70 hours sometimes. ROA.724-25. The number of jobs

Flores completed in a week varied. ROA.532-33; ROA.723-25. There were some

weeks where he made as little as $510 for the week and others over $2,000.

ROA.532-33.

                           STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(c). “The mere scintilla of evidence in support of



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the plaintiff’s position will be insufficient; there must be evidence on which the jury

could reasonably find for the plaintiff.” Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 252 (1986). “[S]ummary judgment is appropriate in any case where critical

evidence is so weak or tenuous on an essential fact that it could not support a

judgment in favor of the nonmovant.” Little v. Liquid Air Corp., 37 F.3d 1069, 1075

(5th Cir. 1994) (internal quotations omitted).

      Summary judgment “may not be thwarted by conclusional allegations,

unsupported assertions, or presentation of only a scintilla of evidence.” Rogers v.

Bromac Title Servs., LLC, 755 F.3d 347, 350 (5th Cir. 2014). A nonmovant cannot

avoid summary judgment by “replac[ing] conclusory allegations of the complaint or

answer with conclusory allegations of an affidavit.” See Lujan v. Nat’l Wildlife

Fed’n, 497 U.S. 871, 888 (1990) (citing Fed. R. Civ. P. 56(e)).

                       SUMMARY OF THE ARGUMENT

      First, Appellants’ appeal hinges on the admissibility of (1) conclusory

declarations that are directly contradicted by Appellants’ prior sworn deposition

testimony, and (2) purported “summary” charts prepared solely by Appellants’

attorney. The District Court properly applied the lowered burden of proof set forth

in Mt. Clemens and correctly held that this evidence could not create a “just and

reasonable inference” of overtime worked. ROA.2145-2148. This Court should

affirm.



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      Appellants’ prior sworn admissions directly negate their declarations and any

inference that they performed the overtime hours claimed. In the District Court’s

Order, Judge Bennett highlighted the following admissions: (1) Romero-Rodriguez

admitted it was impossible to have worked the hours claimed, (2) Romero-Rodriguez

and Villarreal had no explanation or way to substantiate how they worked over 40

hours in any workweek, and (3) Romero-Rodriguez admitted he “guessed” 70 hours

a week was the average number of hours worked. ROA.2147. The Order further

stressed Appellants failed to account for known meaningful variations in their

workweeks, including not deducting for days they admit they did not work at all.

ROA.2147. No reasonable jury could have found a “just and reasonable inference”

of overtime worked when Appellants’ own testimony contradicted such an

inference.

      On appeal, Appellants attempt to confuse the issue by arguing that the District

Court disregarded precedential circuit authority holding that workers’ testimony can

be enough to shift the burden of proof to the employer. By framing the issue this

way, Appellants ignore the reasons articulated by the District Court for its summary

judgment decision. The fatal flaw in Appellants’ case is not only that they relied on

their own unsubstantiated testimony, but instead the “numerous shortcomings” with

Appellants’ “unwavering” 70 hour a week estimate. ROA.2147. These “numerous

shortcomings” set this case apart from the cases cited in Appellants’ Brief.



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      Further, Fifth Circuit precedent is clear that unsubstantiated testimony is, in

fact, insufficient evidence under Mt. Clemens. See Fairchild, 815 F.3d at 965;

Harvill, 433 F.3d at 441; see also Ihegword v. Harris Cnty. Hosp. Dist., 555 F. App’x

372, 375 (5th Cir. 2014); Kirk v. Invesco, Ltd., 700 F. App’x 334, 336-337 (5th Cir.

2017); Shelby v. Boxer, No. 4:16-CV-1549, 2019 WL 8017865, at *7 (S.D. Tex.

Sept. 13, 2019).

      Appellants’ reliance on the unverified, speculative, attorney-created

“summaries” of a single workweek out of Flores’ nearly 80 weeks, Romero-

Rodriguez’s over 30 weeks, and Villarreal’s over 70 weeks are equally insufficient

to meet Appellants’ burden.         ROA.532-36; ROA.1916-17; ROA.1996-97;

ROA.2059-60. The “summaries” are inadmissible, cannot disprove Appellants’

deposition admissions, and are admittedly unreliable.

      Second, Appellants’ overtime claim hinges on a finding that Appellants were

employees of FS Blinds, and not ICs. The District Court denied summary judgment

for both Appellants and FS Blinds on this issue, finding the existence of a genuine

issue of material fact. ROA.2145. However, the undisputed facts conclusively

prove that Appellants were ICs under controlling Fifth Circuit precedent. See e.g.,

Parrish v. Premiere Directional Drilling, L.P., 917 F.3d 369 (5th Cir. 2019); see

also, Hargrave v. Aim Directional Servs., No. 21-40496, 2022 WL 1487020 (5th

Cir. May 11, 2022). While the Court should not reach the IC issue given Appellants’



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inability to meet their prima facie burden proving uncompensated overtime, in the

unlikely event it does, the Court should determine Appellants were ICs and reverse

and render in FS Blinds’ favor on this issue. At the very least, the Court should

affirm the District Court’s Order finding a genuine issue of material fact.

                                   ARGUMENT

A.    The District Court Properly Held that Appellants’ Evidence Could Not
      Create a “Just and Reasonable Inference” of Overtime Worked.

      Under the FLSA, an employee bringing an action for unpaid overtime

compensation “has the burden of proving that he performed work for which he was

not properly compensated.” Mt. Clemens, 328 U.S. at 687. When employer time

records are not available—as is the case here—courts apply a burden-shifting

analysis. Id. at 686-88. The burden-shifting analysis does not absolve the plaintiff

of his burden of proving he performed uncompensated overtime work and the

amount thereof; rather, it lowers the plaintiff’s burden of proof to a “just and

reasonable inference” standard. Id. at 687. For the burden to shift to the employer,

the plaintiff must meet his threshold burden of (1) proving that he has in fact

performed the work for which he claims he was improperly compensated and (2)

producing sufficient evidence to show the amount and extent of that work as a matter

of “just and reasonable inference.” Id. Only after the plaintiff meets this threshold

burden does the burden shift to the employer “to come forward with evidence of the




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precise amount of work performed or with evidence to negative the reasonableness

of the inference to be drawn from the employee’s evidence.” Id. at 687-88.

      In support of their overtime claim, Appellants offered their post-deposition

declarations and summaries created by their attorney, neither of which was sufficient

to shift the burden to FS Blinds. The District Court properly held that “[e]ven with

the lowered burden of proof . . . Plaintiff’s evidence cannot create a just and

reasonable inference of overtime worked and therefore fails as a matter of law.”

ROA.2147-48.

      1.     Appellants’ unsubstantiated declarations alone are not enough to
             satisfy the Mt. Clemens standard.

      Appellants erroneously argue that the Mt. Clemens’ lowered burden of proof

allows an employee to rely solely on his unsubstantiated testimony or recollection

to shift the burden of proof to the employer. While Mt. Clemens created a “lenient

standard” for the employee, it is not without its limitations. Here, not only are

Appellants’ declarations unsubstantiated and conclusory, they do not explain

Appellants’ prior sworn testimony, which directly contradicts the declarations.

Appellants admitted there are weeks they know they could not have possibly worked

overtime (let alone 70 hours), yet Appellants seek damages for those very weeks

based on a 70-hour week. The District Court correctly held that Appellants could

not satisfy their “just and reasonable inference” burden in light of these admissions.




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      a.      Appellants’ declarations are contradicted by their prior sworn
              deposition testimony.

      Appellants point to their declarations to attempt to satisfy their prima facie

burden.     Appellants’ Br. 25-27 (citing ROA.372; ROA.375; and ROA.378).

However, Appellants’ declarations are directly negated by their prior deposition

testimony, wherein Appellants admitted (1) there were weeks they knew they did not

work 70 hours but claimed damages using a 70-hour week anyway, (2) they could

not explain or substantiate that they worked over 40 hours in any given workweek,

and (3) they “cannot remember” if overtime was actually worked.

      Romero-Rodriguez claims he worked an average of 70 hours each week he

worked for FS Blinds. ROA.534. However, when asked if he worked over 40 hours

in every week he is claiming, Romero-Rodriguez answered: “I cannot remember.”

ROA.576. In his deposition, Romero-Rodriguez admitted that sometimes he worked

as few as one to three days in a week, making a 70-hour week impossible. ROA.580-

99. Critically, the weeks where Romero-Rodriguez only worked one to three days

were identifiable. For example, for the week of June 16, 2019, Romero-Rodriguez

admitted that it was impossible for him to have even worked over 40 hours when he

only worked one day that week. ROA.594-96. For the week of May 26, 2019,

Romero-Rodriguez admitted that 19.8 hours was the maximum number of hours he

could have worked. ROA.580-94. Yet, Romero-Rodriguez seeks damages for both

of these weeks based on a 70-hour week. ROA.534. The substantial discrepancies


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in Romero-Rodriguez’s 70-hour a week claim is evidenced by the fact that his

compensation from FS Blinds varied significantly. ROA.534. Some weeks he made

as little as $180 (proving he worked very few jobs that week) and other weeks he

made over $1600. ROA.534; ROA.573-75.

      Similarly, Villarreal’s compensation each week varied significantly,

sometimes making only $97.00 for the week and others over $2,000. ROA.535-36.

The record shows that there were weeks where Villarreal only worked one day a

week—making it impossible for him to have worked overtime during those weeks,

let alone the 70 hours claimed. ROA.1035-41. For example, for the week of March

1, 2020, Villarreal only worked one day. ROA.1035-41. Yet, Villarreal seeks

damages for that week based on a 70-hour week. ROA.535-36.

      Flores admitted there were weeks he did not work 70 hours. ROA.724-25.

The number of jobs Flores worked in a week varied significantly, which is evidenced

by the fact that his pay also varied greatly. ROA.532-33. The record shows that

there were some weeks where he made as little as $510 for the week, while other

weeks over $2000. ROA.532-33. Yet, even for the weeks where he worked

substantially fewer jobs, Flores seeks damages based on a 70-hour week. ROA.532-

33.

      Villarreal and Romero-Rodriguez admitted they had no way of substantiating

or explaining how they worked over 40 hours in any workweek.            ROA.472;



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ROA.594, 599-600. Further, Romero-Rodriguez admitted that he “guessed” his

purported 70-hour workweek was his “best average.” ROA.586-87; ROA.600; see

Oti v. Green Oaks SSC, LLC, No. 4:13-CV-816-A, 2015 WL 329216, at *3 (N.D.

Tex. Jan. 23, 2015) (summary judgment for employer where plaintiff admitted she

guessed the number of overtime hours worked); Dixon v. First Choice, No. 4:14-

CV-02895, 2016 WL 774680, at *3 (S.D. Tex. Feb. 29, 2016) (plaintiff’s

“unsubstantiated guesswork” was insufficient overtime evidence).

      Notwithstanding the clear and direct testimony, Appellants submitted

declarations with their summary judgment response making conclusory statements

that they worked approximately 70 hours per week, every week. ROA.372;

ROA.375, ROA.378.

      The declarations allege Appellants worked 11- to 15-hour workdays five to

six days a week, yet they fail to provide any details or specific facts about what they

did during those hours (other than making unsubstantiated assertions about their start

and end times). ROA.372; ROA.375; ROA.378. None of the assertions made in

Appellants’ declarations are “tied to any evidence.” See Garcia v. U Pull It Auto &

Truck Salvage, Inc., 657 Fed. Appx. 293, 297 (5th Cir. 2016). And, the declarations

do not address Appellants contradictory deposition testimony in which they admitted

they (1) knew it was impossible to have worked overtime in certain weeks, (2) cannot

explain or substantiate how overtime was worked in any week, and (3) “cannot



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remember” if they actually worked overtime. See Cleveland v. Policy Management

Systems Corp., 526 U.S. 795, 806 (1999) (recognizing that [f]ederal courts “have

held with virtual unanimity that a party cannot create a genuine issue of fact

sufficient to survive summary judgment simply by contradicting ... her own previous

sworn testimony (by, say, filing a later affidavit that flatly contradicts that party's

earlier sworn deposition) without explaining the contradiction or attempting to

resolve the disparity”).

      FS Blinds objected to the declarations as conclusory, speculative, and

contradictory of prior deposition testimony. ROA.2083. The District Court properly

rejected the declarations, stating the “[m]ost damaging” defect in Appellants’ 70-

hour a week estimate “is their unwavering stance that they worked 70 hours per

week even on weeks when doing so would be impossible because of only working

one, two, or three days.” ROA.2147.

      Appellants attempt to do precisely what the court in Shelby rejected—i.e.,

inflate their alleged overtime hours (and, thus, their damages) by failing to deduct

for days they know they did not work. Shelby, 2019 WL 8017865, at *7. In Shelby,

the court held that the plaintiffs did not meet their burden when their evidence

“fail[ed] to affirmatively identify or account for partial workweeks on account of

vacation, paid time-off, holidays, discretionary holidays, or other time off.” Id. Like




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here, plaintiffs’ damages model in Shelby failed to deduct the partial workweeks,

“even though they had information at hand to make these determinations.” Id.

       Appellants’ reliance on Five Star and Hobbs only supports FS Blinds’

argument. U.S. Dep't of Lab. v. Five Star Automatic Fire Protc., L.L.C., 987 F.3d

436, 445 (5th Cir. 2021); Hobbs v. EVO Inc., 7 F.4th 241, 256-57 (5th Cir. 2021).

Unlike Appellants here, in Five Star, the Department of Labor (the “DOL”) made

adjustments to its damages calculation to account for days that the employees did

not work.      Id.   In fact, the DOL even omitted uncompensated time from its

calculation when the available information showed that the employee performed less

tasks in a given day. Id. Thus, the overtime estimate in Five Star did not suffer from

the same “just” and “reasonableness” deficiencies that are at issue here, where

Appellants claim hours that they admit they did not work. Similarly, in Hobbs the

district court “reduced the number of hours claimed by each Plaintiff” based on

plaintiffs’ admissions that they could not have possibly worked the hours claimed.

Hobbs, 7 F.4th at 257-58.2

       Mt. Clemens requires plaintiff’s evidence to create a “just” and “reasonable”

inference of overtime worked and the amount and extent of that work. An inference


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  Appellants’ reliance on Hobbs is further misplaced, because in that case plaintiffs relied on the
hours reflected in their contemporaneously recorded timesheets to prove their overtime claims—
i.e., not mere unsubstantiated assertions. Id. at 256-57. In determining the timesheets were
sufficient evidence under Mt. Clemens, the Court reasoned that the defendant (1) told the plaintiffs
the number of hours to record on the timesheets, and (2) agreed to the accuracy of the timesheet
hours, because it used the timesheets to bill its customers. Id. None of these facts are present here.

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can be neither “just” nor “reasonable” when Appellants admit that their overtime

calculation is inaccurate and unexplainable. The District Court highlighted the

foregoing “numerous shortcomings” of Appellants’ 70-hour week estimations, and

properly held Appellants’ evidence “cannot create a just and reasonable inference of

overtime worked.” ROA.2146-48.

      b.    Unsubstantiated assertions are no evidence under long-standing Fifth
            Circuit precedent.

      In its Order, the District Court correctly applied Fifth Circuit authority holding

“[i]n order to raise a just and reasonable inference . . . an employee must provide

more than mere unsubstantiated assertions.” ROA.2146 (citing Kirk, 700 F. App’x

at 336). The Fifth Circuit’s rule that unsubstantiated assertions are not enough to

raise a “just and reasonable inference” of uncompensated overtime is well

established. See Fairchild, 815 F.3d at 965; Harvill, 433 F.3d at 441.

      In 2005, the Fifth Circuit in Harvill affirmed summary judgment for the

employer where “there was a paucity of evidence to support [Harvill’s] claim for

unpaid overtime compensation under the Fair Labor Standards Act.” Harvill, 433

F.3d at 432. Harvill made the unsubstantiated assertion that she worked 210 hours

of unpaid overtime, but offered no evidence that she actually worked the hours that

she alleged. Id. at 441. The Court held there was no error in granting summary

judgment for the employer, because Harvill failed to present sufficient evidence of

her overtime claim. Id.


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      In 2014, the Fifth Circuit in Ihegword affirmed summary judgment for the

employer where the plaintiff offered no evidence other than her “unsubstantiated

assertions speculated from memory, to prove that she actually worked overtime for

which she was not compensated.” Ihegword, 555 F. App’x at 375 (emphasis added).

Appellants cited the district court opinion in their brief and claimed it should be

ignored because it was not controlling authority. Appellants’ Br. 29-30. However,

this Court’s affirmance and its opinion is controlling authority. Ihegword, 555 F.

App’x at 375.

      To prove her overtime claim, Ihegword relied on her written declaration

wherein she testified that she worked “approximately” twelve hours of overtime a

week. Id. at 375. Just like the present case, Ihegword’s overtime claim was an

approximate estimate derived from her memory alone and testified to in her post-

deposition declaration. Id. Further, like here, Ihegword’s unsubstantiated claim of

twelve hours of overtime a week was contradicted by evidence that she often worked

less than a forty-hour week. Id. And, like the District Court did here, this Court

found that Ihegword’s evidence amounted to no evidence. Id.

      In 2016, the Fifth Circuit reiterated the rule set forth in Harvill twice with the

decisions of Fairchild and Garcia. Fairchild, 815 F.3d at 965; Garcia, 657 F. App’x

at 297-98. In Fairchild, the only evidence the plaintiff offered to prove she worked

overtime and the amount thereof was “her unsubstantiated testimony that she



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worked approximately ten hours of overtime a week and was not paid overtime for

this period.” Fairchild, 815 F.3d at 965. The Fifth Circuit held the evidence was

insufficient to prove plaintiff’s overtime claim. Id.

       In Garcia, the Fifth Circuit affirmed summary judgment for the employer

where the employee relied on his sworn affidavit to prove his overtime claim.

Garcia, 657 F. App’x at 294-95. In affirming the district court’s dismissal, the Fifth

Circuit cited one of the very basic tenets of summary judgment practice: “A party

may not defeat summary judgment with conclusory allegations, unsubstantiated

assertions, or only a scintilla of evidence.” Id. at 296 (quoting Turner v. Baylor

Richardson Med. Ctr., 476 F.3d 337, 343 (5th Cir. 2007)). Following this black

letter law, the Fifth Circuit rejected Garcia’s sworn affidavit—i.e., the only evidence

in the record supporting Garcia’s overtime claim—and held that the “non-specific

assertions” stated in the affidavit were insufficient because they were “not tied to

any evidence.” Id. at 297. The Fifth Circuit explained that, even drawing reasonable

inferences in Garcia’s favor, his overtime claim was “entirely speculative.” Id. at

298.

       In 2017, the Fifth Circuit in Kirk affirmed summary judgment for the

employer where the plaintiff offered her own testimony to support her overtime

claim. Kirk, 700 F. App’x. at 337. Kirk testified that she worked 60 hours a week

and probably spent “about 7 to 10 hours enrolling people” in training classes per



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day. Id. at 335. Citing Mt. Clemens, the Fifth Circuit clarified that while the plaintiff

“need not prove the precise extent of uncompensated work” to meet her “just and

reasonable inference” burden, she “must provide more than mere unsubstantiated

assertions.” Id. at 337 (quoting Harvill, 433 F.3d at 441).

      District courts in this circuit have properly followed the foregoing Fifth

Circuit precedent, and dismissed overtime claims where the employee relies on

unsubstantiated assertions to satisfy his prima facie burden. See Oti, 2015 WL

329216 at *3 (summary judgment for employer where the employee offered nothing

more than her “admitted guess” of overtime hours worked); Dixon, 2016 WL

774680 at *3 (plaintiff’s declaration and “unsubstantiated guesswork” was

insufficient evidence of overtime); Godert v. Palo Alto Networks, Inc., 3:16-CV-

2079-G, 2017 WL 5901003, at *7-8 (N.D. Tex. Nov. 30, 2017) (plaintiff’s “bare,

speculative assertions” that he worked approximately 10 hours of overtime per week

was insufficient to establish claim for overtime compensation); Kibodeaux v. A&D

Interests, Inc., No. 3:20-CV-00008, 2022 WL 980354, at *11 (S.D. Tex. Mar. 31,

2022) (summary judgment for employer where the plaintiff relied on her own

declaration stating that she worked more than 40 hours some weeks).

      c.     Appellants’ cases are inapposite.

      Appellants erroneously argue that worker testimony and recollections alone

are enough to satisfy their burden under Mt. Clemens, regardless of whether such



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testimony and recollection is unsubstantiated. In the District Court, Appellants

relied on the same line of cases as they do on appeal. ROA.1800. The District Court

was rightfully unpersuaded. Appellants’ cases have no effect on the present case.

       First, none of the cited Fifth Circuit cases address whether a plaintiff can rely

solely on an unsubstantiated declaration to prove overtime when his declaration is

contradicted by prior sworn testimony proving his assertions are false. See

Appellants’ Br. 20-23 (citing Mitchell v. Riley, 296 F.2d 614 (5th Cir. 1961);

O’Meara-Sterling v. Mitchell, 299 F.2d 401 (5th Cir. 1962); Donovan v. Hamm’s

Drive Inn, 661 F.2d 316 (5th Cir. 1981); Skipper v. Superior Dairies, Inc., 512 F.2d

409 (5th Cir. 1975)3; Beliz v. W.H. McLeod & Sons Packaging Co., 765 F.2d 1317

(5th Cir. 1985); Reeves v. Int’l Telephone & Telegraph Corp., 616 F.2d 1342 (5th

Cir. 1980)).4 This is the key issue before the Court in the present case, and the stated

reasoning behind the District Court’s Order. In his Order, Judge Bennett correctly

reasoned that the record evidence—including, Appellants’ own deposition

testimony—proved it was impossible for Appellants to work the hours claimed.

ROA.2147-48. Appellants’ unsubstantiated and conclusory declarations stating they

worked 70 hours every week cannot satisfy their “just and reasonable inference


3
  Notably, in Skipper, the plaintiff’s testimony was, in fact, substantiated by several witnesses,
including the defendants themselves. Skipper, 512 F.2d at 417-19.
4
  Appellants also erroneously rely on Castillo v. Givens, 704 F.2d 181, 195 (5th Cir. 1983). See
Appellants’ Br. 27. The Castillo opinion provides no analysis regarding the sufficiency of the
employees’ testimony—including, whether the testimony was substantiated or suffered from any
of the other defects at issue in the present case.

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burden” when the declarations are directly negated by their prior sworn testimony.

Consistent with this Court’s holding in Ihegword, the declarations are insufficient

for this distinct reason, even under Mt. Clemens’ lenient standard. Ihegword, 555 F.

App’x at 375 (plaintiff’s reliance on her unsubstantiated declaration was insufficient

to prove overtime when her declaration contradicted, without explanation, her prior

sworn deposition testimony).5 Appellants’ cited cases do not hold differently.

       Second, Appellants ignore the past two decades of Fifth Circuit opinions

expressly holding that unsubstantiated assertions are not enough even under Mt.

Clemens’ lowered burden of proof. The law in this circuit has further developed

since the cases cited in Appellants’ Brief. Recent Fifth Circuit cases make clear that

the leniency of a plaintiff’s burden under Mt. Clemens is not without limitations. See

Harvill, 433 F.3d at 432 (unsubstantiated assertion of overtime hours without

evidence hours were actually worked is insufficient); Ihegword, 555 F. App’x at

375; Fairchild, 815 F.3d at 965 (unsubstantiated testimony is insufficient); Garcia,

657 F. App’x at 297-98 (affidavit is insufficient when not tied to any evidence); Kirk,

700 F. App’x. at 337 (unsubstantiated testimony is not enough).

       Third, Appellants rely on inapposite cases allowing representative testimony

in collective actions and cases brought by the Secretary of Labor to argue that


5
 See also Ihegword v. Harris. Cty. Hosp. Dist., 929 F. Supp. 2d 635, 665-68 (S.D. Tex. 2013).
This Court, in Ihegword, affirmed and adopted the district court’s analysis “in full.” Ihegword,
555 F. App’x at 375.

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employees can meet their Mt. Clemens burden “without ever saying a word.”

Appellants’ Br. 23 (citing Brennan v. Gen. Motors Acceptance Corp., 482 F.2d 825

(5th Cir. 1973); Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442 (2016); Reich v. S.

New England Telecomm. Corp., 121 F.3d 58 (2nd Cir. 1997); Reich v. S. Md.

Hospital, Inc., 43 F.3d 949 (4th Cir. 1995); Sec’y of Labor v. DeSisto, 929 F.2d 789

(1st Cir. 1991); Martin v. Selker Bros., Inc., 949 F.2d 1286 (3rd Cir. 1991); Brock v.

Norman’s Country Mkt., Inc., 835 F.2d 823 (11th Cir. 1998)). Appellants’ cases

address whether another employee’s representational testimony is sufficient to

satisfy the burden for non-testifying employees—not whether unsubstantiated

testimony is sufficient under Mt. Clemens. This case is neither a class action, nor a

suit brought by the Secretary of Labor, where employees can be represented by

someone other than themselves. Rather, here, Appellants are each required to meet

their individual burdens of proving they in fact worked overtime and the amount and

extent of that work. Thus, Appellants cannot prevail “without ever saying a word.”

Appellants’ Br. 23.     Moreover, none of these cases hold that an employee’s

testimony is sufficient to meet Mt. Clemens when it is contradicted by the

employee’s prior sworn testimony.

      Fourth, Appellants’ reliance on cases outside of the Fifth Circuit have no

bearing on this case. Appellants’ Br. 23-25 (citing Moran v. Al Basit LLC, 788 F.3d

201 (6th Cir. 2015); Kuebel v. Black & Decker, Inc., 643 F.3d 353 (2nd Cir. 2011);



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Wirtz v. Dix Box Co., 322 F.2d 499 (9th Cir. 1963); Mumbower v. Callicot, 526 F.2d

1183 (8th Cir. 1975)). Again, none of these cases involve a plaintiff’s admission

that he did not actually work any overtime in the very weeks that he asserts overtime

damages, as is the case here.6 To the extent the Court is even inclined to consider

non-binding cases outside of this circuit, the Eighth Circuit’s decision in Holaway is

highly analogous to the present case and instructive. See Holaway v. Stratasys, Inc.,

771 F.3d 1057, 1060 (8th Cir. 2014).

       In Holaway, the plaintiff made the bare assertion that he worked an estimated

60 hours a week, every week, of his employment. Id. Other than offering his own

testimony, Holaway failed to put forth any evidence of the amount and extent of his

alleged overtime hours for any week, let alone for every week claimed. Id. at 1059-

60. Further, like Appellants here, in calculating his hours, Holaway failed to account

for days that he did not work. Id. at 1060. The Eighth Circuit held that plaintiff’s

overtime assertion was inaccurate and, thus, insufficient evidence. Id. The Eighth

Circuit recognized that, under Mt. Clemens, Holaway was not required to show “the

precise extent of uncompensated work,” but because the evidence he offered was

“inconsistent and provide[d] no details which would allow a jury to determine



6
  While the Kuebel case involved the plaintiff’s inconsistent testimony, the inconsistency did not
rise to the level at issue in this case where the Appellants knew the weeks overtime was not worked
yet still seek overtime damages for those very weeks. “It is well settled that this court does not
allow a party to defeat a motion for summary judgment using an affidavit that impeaches, without
explanation, sworn testimony.” S.W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 495 (5th Cir.1996).

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Holaway worked beyond forty hours in any specific week,” he failed to satisfy “even

the relaxed evidentiary standard.” Id. at 1059-60. The same is true here.

      2.     Evidence manufactured by Appellants’ attorney does not satisfy
             Mt. Clemens.
      The additional evidence Appellants offer is inadmissible, and thus cannot

substantiate the assertions made in their declarations. The District Court implicitly

rejected the evidence Appellants now rely upon when determining that Appellants

lacked prima facie evidence to support their overtime claim. “Courts are not

required to view evidence presented at summary judgment in the light most

favorable to the nonmoving party on the question of admissibility; rather, the content

of summary judgment evidence must be generally admissible.” Garcia, 657 F.

App’x at 297.

      a.     Unverified, admittedly inaccurate, speculative, and attorney-created
             evidence are inadmissible to support Appellants’ claims.

      First, Appellants offered summaries created by their attorney of work orders

that purportedly represent a single “exemplary week” of hours worked for each

Appellant. ROA.1916-17; ROA.1996-97; ROA.2059-60. Appellants do not attempt

to explain how summaries created solely by their attorney—who lacks personal

knowledge—are admissible evidence. Appellants claimed the summaries constitute

Federal Rule of Evidence 1006 summaries of voluminous documents. ROA.1798-

99. It is unclear if Appellants maintain that position now given that they mention



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nothing about Rule 1006 in their Brief. Regardless, the summaries cannot satisfy

the requirements of Rule 1006. FS Blinds objected to this evidence, and the District

Court properly ignored the summaries in its Order. ROA.2082-84; ROA.2143-2148.

      In the Fifth Circuit, “summary charts are, in the trial court's discretion,

ordinarily admissible when: (1) the charts are based on competent evidence before

the jury; (2) the primary evidence used to construct the charts is available to the other

side for comparison in order that the correctness of the summary may be tested; (3)

the person who prepared the charts is available for cross-examination; and (4) the

jury is properly instructed concerning their consideration of the charts.”

United States v. Winn, 948 F.2d 145, 159 (5th Cir. 1991). Necessary for admission

is the chart preparer’s availability for cross-examination, which the Fifth Circuit has

mandated for decades. See e.g., United States v. Chivers, 488 F. App’x 782 (5th Cir.

2012). Appellants’ summaries cannot satisfy this requirement because Appellants’

counsel created the summaries, and it is impermissible under the Texas Disciplinary

Rules of Professional Conduct for a lawyer to serve as both an advocate and a

witness for a client. Tex. Disciplinary Rules of Prof'l Conduct R. 3.08; see United

States v. Solvay, No. CV H-06-2662, 2016 WL 1258401, at *12-13 (S.D. Tex. Mar.

31, 2016), aff'd sub nom. United States ex rel King v. Solvay Pharm., Inc., 871 F.3d

318 (5th Cir. 2017) (“[E]ven if the underlying data were admissible, the summary

charts are not admissible because they were apparently prepared by Relators’ lead



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counsel, who cannot serve as the proponent of the charts at trial.”). Thus, the

summaries are inadmissible under Fed. R. Evid. 1006.

       Even if admissible, the summaries amount to no evidence because they do not

summarize all of the work orders for each Appellant for each week they claim

overtime. Instead, Appellants cherry-picked a single week out of Flores’ nearly 80

weeks, Romero-Rodriguez’s over 30 weeks, and Villarreal’s over 70 weeks of work

with FS Blinds. ROA.532-36. A single workweek cannot substantiate a claim for

overtime for every week worked, as Appellants claim here—especially, when it is

undisputed Appellants’ workweeks varied from single days to multiple days.

ROA.573-75; ROA.723-25.

       The summaries are unreliable because they conflict with Appellants’ sworn

testimony. The summaries assume that it took 7.5 minutes to install a blind, and one

minute to measure each window. ROA.1916-17; ROA.1996-97; ROA.2059-60.

But, Villarreal testified that he “couldn’t answer” how much time it took to perform

an installation (ROA.1845), and Romero-Rodriguez could not “be accurate” about

how much time it took to do an installation because “everything depends,” and that

he was “not sure” how much time it took to measure.7 ROA.1824-25. On their face,


7
  The summaries rely on Romero-Rodriguez’s post-deposition declaration, wherein he testified
that it took him one minute to measure each window. ROA.1929-30. Romero-Rodriguez’s
declaration contradicts his deposition testimony. ROA.1824-25. Where a declaration is
inconsistent with the declarant’s prior sworn deposition, the court is proper not to consider it as
competent summary judgment evidence. See Hacienda Records, L.P. v. Ramos, 718 F. App’x
223, 235 (5th Cir. 2018).

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the summaries require the Court to speculate about the amount of time it took to

perform tasks that Appellants themselves admit they cannot accurately estimate.

      Even though Appellants’ cherry-picked which workweeks to summarize, the

summaries do not support the claim Appellants worked 70 hours per week. Indeed,

Appellants admit that Romero-Rodriguez did not work anywhere close to 70 hours.

Appellants argue for the “exemplary week” of April 5, 2019 Romero-Rodriguez

worked 55 hours, and that is only if his purported drive time is included (which is

also inadmissible for the reasons that follow). Appellants’ Br. 11. Despite this

concession, Romero-Rodriguez still claims that he is owed damages for the week of

April 5, 2019 for working a 70-hour week. ROA.534. This is neither “reasonable,”

nor “just.”

      Second, Appellants offered inadmissible drive times to correspond with the

“exemplary week” summaries. ROA.1919-23; ROA.1999-2003; ROA.2062-66.

The drive times were created solely from calculations made by Appellants’ attorney

using a third-party website, lacking authentication and constituting inadmissible

hearsay. See Weinhoffer v. Davie Shoring, Inc., 23 F.4th 579, 582 (5th Cir. 2022)

(“[A] witness attempting to authenticate online content as evidence [is] unlikely to

have the requisite direct knowledge where that content was created and maintained

by a third party.”); Thompson v. Bank of Am. Nat. Ass'n, 783 F.3d 1022, 1027 (5th

Cir. 2015) (excluding online call logs because witness did not have personal or direct



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knowledge necessary to authenticate the website since it was created and maintained

by a third party). Critically, Appellants admitted in their Response to FS Blinds’

Motion for Summary Judgment that the drive time calculations were inaccurate.

ROA.1798. (“These are merely approximations. First, it appears that RouteXL

automatically builds five minutes into each stop, even if the stops are very close by.

On the other hand, its travel times do not incorporate actual or forecasted traffic.”).

The drive time calculations are admittedly flawed, inadmissible, and cannot

substantiate Appellants’ assertions of overtime worked.

      Third, Appellants offer the testimony of Bob Simpson. In Appellants’ motion

for summary judgment, Appellants expressly rejected any testimony by Simpson

regarding estimated hours worked, stating that his testimony was speculative

because it was based on his blinds hanging experience 20 years ago and not on

Appellants’ experience.     ROA.208-09.        Appellants cannot rely on Simpson’s

testimony to prove the amount of overtime worked when Appellants previously

argued that Simpson’s testimony was speculative, based only on his experience from

20 years ago, and proves FS Blinds did not know how many hours Appellants

worked. ROA.208-09.

      b.     This Court in Kirk rejected reliance on similarly deficient evidence.

      Like the Appellants here, the plaintiff in Kirk offered evidence in addition to

her unsubstantiated testimony to satisfy her Mt. Clemens burden. Kirk, 700 F. App'x



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at 335. The Fifth Circuit rejected Kirk’s additional evidence for reasons that are

analogous to the present case. Id. at 337.

      First, the Court held that emails sent before, during, and after regular work

hours, including weekends, showed “only two- to three-day snapshots of such email

activity over the course of three years.” Id. at 337. Further, even though the emails

showed that Kirk worked outside of normal work hours on occasion, “it does not

validate Kirk’s assertions that she worked more than forty hours in any given week.”

Id. Second, the Court held that GPS phone records were also insufficient to prove

she worked more than 40 hours a week because they only showed she worked 11-

13 hour days on three separate times over the course of two years. Id. Third, the

Court rejected the testimony of Kirk’s mother because it only accounted for

“sporadic instances” of work outside of normal hours. Id.

      The Fifth Circuit held that “[e]ven though Kirk presented the district court

with more than just her own assertions, we agree with the district court’s conclusion

that this additional evidence is insufficient to substantiate her testimony that she

worked overtime.” Id. The Court explained: “Given that Kirk has presented only

evidence of sporadic instances during which she worked outside of typical hours

and has admitted that the window during which she worked varied depending on

when and where trainings were scheduled, we hold that she has failed to present




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sufficient evidence allowing a just and reasonable inference that she worked

overtime.” Id. (emphasis added).

       Appellants’ additional evidence of attorney-created summaries, drive times,

and the deposition of a FS Blinds manager are not only inadmissible for the reasons

previously stated,8 but also suffer from the same deficiencies that this Court found

compelling in Kirk. The District Court properly rejected this evidence, because it

cannot substantiate the assertions made in Appellants’ declarations or their 70-hour

a week damages calculation.

       3.      The District Court properly rejected Appellants’ “average”
               workweek when Appellants admitted they did not work the hours
               claimed.

       Appellants attempt to discredit the District Court’s decision by alleging that it

failed to recognize that Appellants were claiming an “average” workweek, and not

asserting “that they worked precisely 70 hours per week, every week, without fail.”

Appellants’ Br. 33. The District Court made no such error. The Order expressly

acknowledged that “Plaintiff’s estimate that they averaged 70 hours of work per

week.” ROA.2146 (emphasis added). But, the District Court also properly noted

that Appellants’ damages spreadsheet “assumes that Plaintiffs worked 70 hours per

week, every week that they worked.” ROA.2147 (emphasis added). The District



8
 FS Blinds properly objected to this evidence in the District Court for the reasons stated herein.
ROA.2082-84.

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Court’s observation is key. Despite the fact that Appellants admitted to working

only one to three days in some weeks, they took the “unwavering” position that they

were owed damages based on a 70-hour workweek for every week that they

performed work for FS Blinds. ROA.2147.

      Appellants attempt to explain away their 70-hour a week damages model by

arguing that “weekly variations were baked into Appellants’ testimony.”

Appellants’ Br. 34. Appellants’ argument is not compelling. Appellants knew the

weeks when they worked less than 40 hours (let alone, the 70 hours claimed).

ROA.532-36; ROA.580-99; ROA.723-25. They could have deducted hours for

those weeks in their damages calculation. Instead, they claimed 70 hours for every

week to calculate their damages. ROA.532-36. On its face, this is not “just” and

“reasonable.”

      The court in Shelby addressed this precise issue. Shelby, 2019 WL 8017865,

at *7. Shelby alleged that she worked an average of 70 hours “every single week.”

Id. at *3. Just like Appellants here, “Shelby did not account for or deduct her

admitted, full-day absences . . . in any of the weeks for which Shelby [sought] an

award of damages.” Id. Instead, she testified that “she should recover overtime for

those workweeks as if she had worked the entire workweek.” Id. Shelby made the

same argument that Appellants attempt here—i.e., there were weeks when she

worked more than 70 hours, so her overstated hours were justified. Id. at *4.



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However, Shelby “did not identify the particular workweeks during which she

worked the additional hours over 70 that would be necessary to mathematically

achieve the claimed ‘average’ 70 hours of work in weeks that Shelby did not work

a full workweek.” Id. The court rejected Shelby’s claim.

       Here, Appellants attempt to justify the fact that they used a 70-hour a week

damages model (even for weeks when they admit they could not have worked nearly

70 hours) by making the unsubstantiated assertion that there were weeks in which

they worked over 70 hours a week. However, like Shelby, there is no evidence

supporting Appellants’ claim.9

B.     The District Court Properly Denied Appellants’ Motion on the Issue of
       Damages, because Appellants Failed to Satisfy Their Threshold Burden
       of Proof.

       The District Court properly concluded that “[e]ven with the lowered burden

of proof, the Court finds the Plaintiffs’ evidence cannot create a just and reasonable

inference of overtime worked and therefore fails as a matter of law.” ROA.2146-

47. Thus, the burden did not shift to FS Blinds to “[negate] the reasonableness of

the inference to be drawn from the [Appellants’] evidence,” because Appellants did



9
  Appellants do not identify a single week where Romero-Rodriguez worked over 70 hours. While
Appellants make the bare assertion that Flores exceeded 80 hours the week of March 8, 2019, no
evidence is cited to substantiate his alleged drive time. See Appellants’ Br. 10-11. Instead,
Appellants only cite to the inadmissible attorney-created summaries of tasks worked, which claim
he worked 59.8 hours. Appellants point to February 25, 2019 as a week when Villarreal
purportedly worked 72.5 hours, but, again, the underlying evidence to substantiate that amount is
inadmissible and admittedly flawed for the reasons set forth in supra pp. 33-37.

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not meet their threshold burden. Mt. Clemens, 328 U.S. at 687-88. Because

Appellants failed to meet their prima facie burden, the District Court properly denied

Appellants’ motion for summary judgment.

C.    Appellants Were Independent Contractors under the Economic Realities
      Test.

      This Court should affirm the District Court’s decision granting summary

judgment in favor of FS Blinds because Appellants failed to carry their burden of

proof to prove overtime worked. In the unlikely event this Court disagrees with the

District Court on this issue, FS Blinds is still entitled to judgment as a matter of law

because Appellants were ICs, not employees. The District Court found that there

were genuine issues of material fact on this question. FS Blinds submits that the

evidence conclusively establishes that Appellants were ICs, and, thus, not entitled to

overtime.

      A plaintiff bringing an action under the FLSA for unpaid wages must first

demonstrate that an employer-employee relationship existed during the unpaid

periods claimed. Parrish, 917 F.3d 369, 379. The Fifth Circuit applies five non-

exhaustive factors to determine whether plaintiffs are employees or ICs: “(1) the

degree of control exercised by the alleged employer; (2) the extent of the relative

investments of the worker and the alleged employer, (3) the degree to which the

worker’s opportunity for profit or loss is determined by the alleged employer, (4) the

skill and initiative required in performing the job, and (5) the permanency of the


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relationship.” Id. “[N]o single factor is determinative,” and not all factors must be

met to find an IC relationship exists. Id. at 380.

      1.     FS Blinds did not control Appellants’ work.

             a.     Appellants worked without supervision and instruction.

      Appellants worked without supervision or oversight from FS Blinds, and

determined how to perform their jobs without instruction. ROA.462; ROA.558;

ROA.716. The Fifth Circuit has held that this fact is persuasive of IC status. See

Parrish, 917 F.3d at 381-82; Thibault v. Bellsouth Telecomms, Inc., 612 F.3d 843,

846-47 (5th Cir. 2010).

             b.     FS Blinds did not control Appellants’ schedules.

      Appellants could request to be left off the schedule without penalty.

ROA.567-69; ROA.1050.          When few jobs were available, FS Blinds asked

Appellants if they wanted work and the choice was theirs. ROA.452; ROA.712-13.

FS Blinds did not tell Appellants that they had to work certain hours of the day.

ROA.561-63; ROA.718. Appellants determined break times, when to complete the

job, and the order and route of the jobs on their schedules. ROA.453-54; ROA.559-

60; ROA.707-11; ROA.1054-55. Appellants were not required to notify or check-

in with FS Blinds when they arrived at a job site, completed a job, or were done for

the day. ROA.458, 463-64; ROA.552; ROA.714, 717-18. These facts are indicative

of IC status. See Parrish, 917 F.3d at 382; Carrell v. Sunland Constr., Inc., 998 F.2d



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330, 333 (5th Cir. 1993); Eberline v. Media Net, L.L.C., 636 F. App’x. 225, 227-28

(5th Cir. 2016).

      While FS Blinds provided the schedule to Appellants, FS Blind’s customers

set the schedules by identifying the jobs and dates for completion, and Appellants

set their schedules by notifying FS Blinds when they were unavailable to work.

ROA.1054-55. The number of jobs assigned to Appellants was based on their past

efficiency and requests for additional work. ROA.1043-45, 1047-49, 1058-59.

Thus, Appellants’ work was controlled by customer demand, Appellants’ efficiency,

and Appellants’ requests—not by FS Blinds.

      Appellants falsely claim that FS Blinds mandated certain jobs be performed

at specific times. Notably, on most occasions, Appellants’ schedules indicated that

the job could be completed at “ANY TIME.” ROA.453-54 (discussing ROA.619);

ROA.707-11 (discussing ROA.621). If a schedule requested a timeframe, that

request came from the customer—not FS Blinds. ROA.707-11; ROA.1054-55.

Requesting work be completed at a certain time does not transform a worker into an

employee. See Parrish, 917 F.3d at 381-82 (company selected which IC to use for

the job and assigned certain shifts); Carrell, 998 F.2d at 333 (IC status where

plaintiffs were required to work specific days and hours, and take the same daily

break); Thibault, 612 F.3d at 846-47; Hargrave, 2022 WL 1487020 at *2 (telling

plaintiff “where to go and when” did not “militate” in favor of employee status).



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      Moreover, even if a customer requested a timeframe, installers did not always

meet the request, and there was no consequence for failing to do so. ROA.1341-

1344. Similarly, even if FS Blinds expected that the jobs on Appellants’ schedules

be completed on the day they were assigned, Appellants could carry the work over

to another day without penalty. ROA.564-65; ROA.719-23. Even though FS Blinds

suggested that installers arrive at the warehouse between 6:00-8:00 a.m. to load their

blinds, installers that showed up later (as late as 11:00 a.m. for Villarreal) continued

to receive work without consequence. ROA.1228-29; see Eberline, 636 F. App’x at

227 (IC status where there were no repercussions for late arrivals).

      Appellants also overstate their assertion that FS Blinds could require

mandatory meetings. The record shows that on a single occasion in twelve to thirteen

years a 15-minute installer meeting was called during the morning load-out.

ROA.1226, 1233, 1239.         Clearly, the law allows meetings with ICs without

necessitating classification as employees. See Herman v. Express Sixty-Minutes

Delivery Serv., Inc., 161 F.3d 299, 303 (5th Cir. 1998) (drivers required to attend an

orientation session); Parrish, 917 F.3d at 382 (plaintiffs required to attend

mandatory safety training).

      Appellants’ reliance on Hobbs is misplaced. Hobbs v. Petroplex Pipe and

Constr., Inc., 946 F.3d 824 (5th Cir. 2020). In Hobbs, the defendant assigned

plaintiffs’ hours; whereas, here, Appellants admit FS Blinds did not set their hours.



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Id. at 830; ROA.561-63; ROA.718. The plaintiffs in Hobbs never turned down

assignments; whereas, here, Appellants admit they told FS Blinds when they did not

want to work and did so without repercussion. Hobbs, 946 F.3d at 830; ROA.567-

69; ROA.1050. The plaintiffs in Hobbs were penalized and sent home if they

showed up late; whereas, here, if Appellants showed up outside of the suggested

6:00-8:00 a.m. timeframe, they still received work. Hobbs, 946 F.3d at 830;

ROA.1228-29.

             c.     FS Blinds’ customers evaluated Appellants’ work.

      Appellants’ heavy reliance on the fact that, at times, Appellants had to fix their

mistakes is unpersuasive under Fifth Circuit precedent and defies common sense.

      First, the customer, not FS Blinds, identified Appellants’ mistakes.

ROA.1250-51; ROA.1345-46. This points directly to IC status: Appellants worked

free of supervision and oversight, and the quality of their work was not checked by

FS Blinds—it was checked by the customer.

      Second, it is self-evident that a company can require its ICs to do quality work

without transforming the workers into employees. If Appellants are correct, an IC

has no incentive to do his work correctly because the company has no ability to

require correction of unsatisfactory work. But, this is not the law. See Parrish, 917

F.3d at 382 (“[M]eeting clients’ specifications . . . is consistent with the usual path

of an IC.”); Duplan v. Harper, 188 F.3d 1195, 1201 (10th Cir. 1999) (“[A] standard



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quality assurance provision by which the [putative employer] reserves the right to

determine whether it is satisfied with the services it is purchasing under the contract”

is consistent with IC status.).

             d.     Additional control facts in favor of IC status.

      The Fifth Circuit has previously found IC status when plaintiffs hire other

workers to assist them. See Eberline, 636 F. App’x at 227-28. Here, Appellants

hired their own workers and determined all aspects of their working relationship

with them—e.g., their pay, hours, job duties, and when to hire/fire. ROA.473-76;

ROA.659-64, 680-83.

      Additionally, Appellants never received performance evaluations and were

not required to wear uniforms. ROA.458, 465; ROA.552, 559; ROA.715. Further,

nothing in the IC Agreements prohibited Appellants from working for a competitor.

ROA.491-525; see Talbert v. Am. Risk Ins. Co., 405 F. App’x 848, 856 (5th Cir.

2010).

      2.     Appellants made substantial investments.

      For the investment factor, the ultimate question is whether Appellants invested

in their individual businesses to such a degree that as a matter of economic reality

they were in business for themselves. Carrell, 998 F.2d at 332; Herman, 161 F.3d

at 303. Appellants’ admissions and sworn statements to the IRS prove they made

substantial investments in their individual businesses—to the tune of nearly



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$50,000/year for Flores and Villarreal—resulting in a 50-70% deduction in their

taxable income:

In 2018, Flores deducted the following expenses [ROA.743-44]:

      $27,080:   Van used solely for installation work. ROA.665-66.
      $6,000:    Contract labor
      $1,080:    Insurance (other than health).
      $350:      Legal and professional services.
      $1,910:    Repairs and maintenance.
      $1,811:    Small tools.
      $1,615:    Phone, internet, and fax.
      $2,839:    Material costs.
      $750       Business use of his house.

       $43,435:   Total expenses claimed, reducing Flores’ taxable
                  income from $62,866 to $19,431.

In 2019, Flores deducted the following expenses [ROA.755-56]:

      $19,507:   Van used solely for installation work.
      $3,800:    Contract labor.
      $1,200:    Insurance (other than health).
      $350:      Legal and professional services.
      $2,007:    Repairs and maintenance.
      $3,780:    Small tools.
      $1,827:    Phone, internet, fax.
      $11,299:   Material costs.
      $3,618:    Breakage and returned items.
      $750       Business use of his house.

 $48,138: Total expenses claimed, reducing Flores’ taxable income
          from $71,817 to $23,679.




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In 2018, Villarreal deducted the following expenses [ROA.769-70]:

      $10,037:   Truck used for installation work. ROA.479-80.
      $2,800:    Contract labor.
      $380:      Legal and professional services.
      $670:      Supplies.
      $1,140:    Phone.
      $354:      Tolls.
 $15,381:         Total expenses claimed, reducing Villarreal’s
                  taxable income from $33,131 to $17,750.
In 2019, Villarreal deducted the following expenses [ROA.782-83]:

      $18,234:   Truck used for installation work. ROA.486-87.
      $7,500:    Contract labor.
      $17,000:   Depreciation.
      $365:      Legal and professional services.
      $1,300:    Supplies.
      $1,140:    Phone.
      $2,155:    Tolls.
       $47,694:   Total expenses claimed, reducing Villarreal’s
                  taxable income from $64,519 to $16,825.
In 2019, Romero-Rodriguez deducted the following expenses [ROA.800-01]:
    $15,265:     Van used solely for installation work. ROA.602-03.
    $591:        Supplies.
       $15,856:   Total expenses claimed, reducing Romero-
                  Rodriguez’s taxable income from $31,622 to
                  $15,766.

       Appellants contributed all tools, equipment, transportation, and helpers

needed to complete the work. Additionally, Flores, personally purchased $4,604 in

blinds to install for non-FS Blinds customers. ROA.643-59; ROA.686-700.




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      To the extent FS Blinds’ investment is even relevant, the only investment that

matters is FS Blinds’ investment in the specific job Appellants performed (i.e.,

installation). Parrish, 917 F.3d at 383 (comparing the amount Premiere and each

plaintiff invested at the drill site); Thibault, 612 F.3d at 847. It is undisputed that

FS Blinds’ only investment at the home site is the window coverings. ROA.455-56,

458-59; ROA.704-05. Comparing FS Blinds’ single investment to Appellants’

substantial investments supports IC status.

      The cases cited by Appellants are unavailing. In McLaughlin, the plaintiffs

only provided garments and knives. McLaughlin v. Seafood, Inc. 867 F.2d 875, 876

(5th Cir. 1989). Here, Appellants provided everything from vehicles, to helpers,

office space, supplies, tools, materials, utilities, and insurance.      Similarly, in

Robicheaux, the plaintiffs only invested in welding equipment at a cost between

$5,000-$7,000; not the nearly $50,000/year claimed in Flores’ and Villarreal’s tax

returns. Robicheaux v. Radcliff Material, Inc., 697 F.2d 662, 665 (5th Cir. 1983).

In Rutherford, the plaintiffs “merely” provided a hook, knife, knife sharpener, and

apron. Rutherford Food Corp. v. McComb, 331 U.S. 722, 725 (1947) (emphasis

added). In Hobbs, the investments by defendant far exceeded those made by FS

Blinds—Petroplex paid for plaintiffs’ helpers, expensive equipment, and safety

school for plaintiffs. Hobbs, 946 F.3d at 832.




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       Appellants’ citation to Donovan only undermines Appellants’ argument.

Donovan v. Tehco, Inc., 642 F.2d 141 (5th Cir. 1981). There, the Fifth Circuit held

that the worker who only supplied “some hand tools” was an employee; while, the

worker who hired his own workers to assist him on the job was an IC. Id. at 143-

144.

       3.      Appellants controlled their profits and losses.

       Pursuant to the Fifth Circuit, relevant facts to determine whether a worker

controls his opportunity for profit or loss include whether: (1) “installation jobs were

assigned based on an individual installer’s efficiency rate on previous jobs”

(Eberline, 636 F. App’x at 228)10; (2) “installers could determine the days and times

that they were available to work” (Id.); and (3) the worker can “increase[ ] profits

by controlling costs” (Thibault, 612 F.3d at 848). The Fifth Circuit has also held

that “deducting business expenses is indicative of IC status.” Hargrave, 2022 WL

1487020, at *3 (citing Parish, 917 F.3d at 384-85).

       Here, the more jobs Appellants took from FS Blinds (determined by their

requests for additional work, past efficiency rate, and availability as communicated

to FS Blinds), the more profit Appellants made.                     Appellants controlled their




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  Appellants’ reliance on a 10th Circuit case to argue that a worker’s efficiency is not relevant to
the profit/loss inquiry is directly contradicted by the Fifth Circuit’s controlling holding in Eberline.
Appellants’ Br. 47 (citing Baker v. Flint Eng’g & Constr. Co., 137 F.3d 1436 (10th Cir. 1998)).



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profits/losses by determining how much to spend on expenses compared to how

much work they accepted. Appellants’ tax returns prove they made decisions

regarding how much to spend on tools, vehicles, materials, etc. Further, Appellants

took advantage of significant tax deductions to increase their profits. Appellants

also assessed whether they could afford helpers and how much to pay them.

ROA.473-74.

        Additionally, Appellants’ schedules allowed the opportunity for additional

work.        ROA.570; ROA.1259, 1275.       More importantly, Flores did, in fact,

simultaneously work for others. ROA.643-59, 686-700.

        4.      Appellants showed initiative.

        Appellants “could receive more installation jobs, and thus more profits, based

on their efficiency” and “they could control the days that they worked.” Eberline,

636 F. App’x at 228-229; ROA.451; ROA.542-43. Critically, the Court in Eberline

held that these facts could lead a reasonable jury to conclude that plaintiffs

“exercise[d] significant initiative as an installer, a finding weighing in favor of [IC]

status.” Id. at 229.

        5.      Appellants worked on a project-by-project and short term basis.

        First, where the relationship is 10 months or less, IC status is more likely to

be found. See Parrish, 917 F.3d at 387 (only three of the five plaintiffs worked for

Premiere for 10 months or longer); Hargrave, 2022 WL 1487020, at *5 (IC status



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where plaintiff worked for a six-month period); Mack, 2012 WL 1067398 at *5-6

(relationship was not permanent where plaintiffs worked for defendant for

approximately nine to 20 months). Here, Romero-Rodriguez worked for FS Blinds

for less than eight months. ROA.534. While Villarreal’s relationship with FS Blinds

spanned approximately 20 months, he had several gaps where he did not work with

FS Blinds—including a month long gap, and 10 additional weeks where he was not

scheduled. ROA.449; ROA.535-36.

      Second, Appellants admit:

          They worked on a project-by-project basis. ROA.466; ROA.567.

          They were not guaranteed work. ROA.466; ROA.566.

          They would work less than a five-day workweek. ROA.467; ROA.570.

The record further shows:

          Appellants were free to terminate their relationships with FS Blinds at
           any time (and, in fact, did). ROA.494; ROA.503; ROA.521. For
           example, Villarreal admitted that he “left” the company for over a
           month and then later returned. ROA.468-69.

          Appellants were not prohibited from working for other entities,
           including FS Blinds’ competitors. ROA.491-525; see Talbert, 405 F.
           App’x at 856; Herman, 161 F. 3d at 303.

          In the case of Flores, he did in fact work for others while also working
           for FS Blinds. ROA.643-59, 686-700.

      Contrary to Appellants’ assertion, it is immaterial that Appellants accepted

back-to-back projects. See Hargrave, 2022 WL 1487020, at *5.

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      6.     Appellants’ reliance on a non-traditional factor is unavailing.

      Although the Fifth Circuit’s five factors are non-exhaustive, and courts may

consider other factors, additional factors rarely (if ever), change the analysis.

Appellants’ decision to lead its argument with a non-traditional factor underscores

the absence of facts indicative of employee status under the five factors. Even if the

Court considers whether Appellants were “integral,” the facts still prove Appellants

were ICs.

             a.    Consideration of the “Integral to the Business” factor is not
                   supported.

      The Fifth Circuit has rarely discussed the non-traditional “integral to the

business” factor, and, when it has, the Court ultimately decided not to consider it or

held that it did not change the Court’s determination under the traditional five

factors. Appellants’ cited cases are unpersuasive for this reason.

      In Hobbs, the integral factor did not affect the Court’s analysis, and was only

considered because both parties asked the Court to do so. Hobbs, 946 F.3d at 836.

Having done so at the parties’ request, the Court held that the factor was “neutral”

in the Court’s “overall assessment under the economic realities test.” Id.

      In Shultz, the Court did not apply the integral factor. Shultz v. Hinojosa, 432

F.2d 259, 264 (5th Cir. 1970). In Mitchell, the Court used the term “integral” only




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once and in the context of the skill factor—not to establish a new factor. Mitchell v.

Strickland Transp. Co., 228 F.2d 124, 127 (5th Cir. 1955).

      Appellants’ citation to a 30-year-old, uncited, Western District of Texas

opinion is equally unavailing, particularly because the court did not expressly base

its ruling on whether the plaintiffs were integral. Martin v. Circle C Inv., Inc., No.

MO-91-CA-43, 1991 WL 338239, at *3-6 (W.D. Tex. Mar. 27, 1991) (term

“integral” not used; court focused on traditional five factors).

      Appellants’ citations to Third and Sixth Circuit cases have no bearing on this

case. The Third and Sixth Circuits expressly include the “integral” factor as one of

six factors in their IC/employee test. See Donovan v. DialAmerica Mktg., Inc., 757

F.2d 1376, 1382-83 (3d. Cir. 1985); Acosta v. Off Duty Police Servs., Inc., 915 F.3d

1050, 1055 (6th Cir. 2019). This factor is notably absent from the Fifth Circuit’s

five factor test, which governs this case.

             b.     In the Fifth Circuit, installers are ICs even when they install the
                    precise product the company sells.

      FS Blinds is in the business of selling window coverings. ROA.1230-31;

ROA.1246-48. It is undisputed that Appellants were in no way involved in sales.

Thus, while they were involved in one aspect of FS Blinds’ overall business (i.e.,

installation), Appellants had zero involvement with the primary business of the

Company—sales.




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      Even still, under Fifth Circuit precedent, the mere fact that a plaintiff performs

the precise service that the company sells to its customers does not transform the

plaintiff from an IC to employee. See Herman, 161 F. 3d at 301, 305 (plaintiffs,

drivers for defendant’s courier services, were ICs even though they performed the

exact service defendant sold). In Eberline, defendant’s sole business was the

installation and repair of satellite TV systems. Eberline, 636 F. App’x at 225-26.

Defendant engaged plaintiffs as installers to perform this exact service. Id. Instead

of considering whether the plaintiffs were “integral,” the Fifth Circuit correctly

focused on whether “installers were so economically dependent on Defendants as to

be employees,” and determined workers were properly classified as ICs. Id. at 229.

Thus, contrary to Appellants’ assertion, the mere fact that a worker installs the

product sold by the company does not make the worker an employee.

               c.   Additional extraneous factor to be considered, if any.

      If the Court entertains whether Appellants were integral to FS Blinds’

business, it should also consider the following additional extraneous factor:

Appellants represented themselves as ICs.

      Appellants signed sworn statements to the IRS stating they were sole

proprietors.    ROA.491-525.     They deducted tens of thousands of dollars in

“business expenses” related to their proprietorships from their taxable income each

year, and paid self-employment tax. Further, Appellants represented they were ICs



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when they signed their IC Agreements as “Sole Proprietor(s).” Appellants’ IC

Agreements defined their relationship as ICs, and disclaimed any inference of an

employment relationship. The Fifth Circuit has previously determined that similar

facts are relevant to the Court’s analysis in determining whether a worker is an IC.

See Carrell, 998 F.2d 330, 334.

      7.     FS Blinds is not precluded from arguing each economic realities
             factor.

      Appellants make the unfounded argument that FS Blinds is foreclosed from

applying the record evidence to the five-factor test. Appellants contend that FS

Blinds cannot argue, or offer evidence in support of, anything other than the reasons

its corporate representative, Mark Calagna (“Calagna”), stated as “[t]he basis for [FS

Blinds’] assertion that Plaintiffs were properly classified as independent

contractors.” Appellants are wrong for each of the following reasons.

      First, Mr. Calagna did in fact testify as to each of the economic reality factors

as the basis for FS Blinds’ position that Appellants were properly classified.

Appellants’ claim that Mr. Calagna’s testimony was limited to two reasons (i.e., that

the workers signed IC agreements, and because it was industry standard) is patently

false. Appellants’ counsel specifically questioned Mr. Calagna about FS Blinds’

Response to Plaintiffs’ Interrogatory No. 4, which asked FS Blinds to “[s]tate the

complete factual and legal basis for your assertion that Plaintiffs were properly

classified as independent contractors and were properly paid as independent


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contractors.” ROA.2096. FS Blinds’ interrogatory response, and corresponding

deposition testimony, addressed how each of the five economic reality factors

establish IC status for Appellants. ROA.2096-2103; ROA.2110-2112. Separately,

Mr. Calagna also testified that factors that “informed the question of whether [FS

Blinds’] installers are employees or independent contractors” included, inter alia,

(1) Appellants’ discretion regarding resources to complete the work, their hours and

schedules, and the amount of work they decided to take, (2) lack of oversight by FS

Blinds, and (3) overall, the “reality of the working relationship”— the ultimate

inquiry of the economic realities test. ROA.2088-2095.

      Second, the testimony of FS Blinds’ corporate representative does not

constitute a judicial admission that precludes additional (or even contradicting)

argument and evidence. See Lindquist v. City of Pasadena, 656 F. Supp. 2d 662,

698 (S.D. Tex. 2009) (“A Rule 30(b)(6) deposition is admissible against the party

designating the representative but is not “binding” on the entity for which the

witness testifies in the sense of preclusion or judicial admission.”) (emphasis

added). A corporate representative’s testimony is merely evidence, not a judicial

admission. See Johnson v. Big Lots Stores, Inc., Nos. 04-3201, 05-6627, 2008 WL

6928161, at *3 (E.D. La. May 2, 2008) (citing e.g., Martinez v. Bally’s La., Inc., 244

F.3d 474, 476-77 (5th Cir. 2001)). The critical difference between a judicial

admission and an evidentiary admission is as follows:



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      A judicial admission is a formal concession in the pleadings or
      stipulation by a party or counsel that is binding on the party making
      them. Although a judicial admission is not itself evidence, it has the
      effect of withdrawing a fact from contention . . . By contrast, an
      ordinary evidentiary admission is merely a statement of assertion or
      concession made for some independent purpose, and it may be
      controverted or explained by the party who made it.

Martinez, 244 F.3d at 476-77. (emphasis added).

      Third, Appellants’ argument mischaracterizes the economic realities test as an

assessment of the reasons why the purported employer believed the classification

was proper, rather than the economic reality of whether Appellants were in business

for themselves. FS Blinds’ reasons as to why it believes Appellants were properly

classified is not relevant to the inquiry of whether or not Appellants were ICs under

the economic realities test. See Carrell, 998 F.2d at 332.

      8.     Conclusion.

      While the Court should not reach the IC issue given Appellants’ inability to

meet their prima facie burden proving uncompensated overtime, in the unlikely

event it does, the foregoing undisputed facts prove Appellants were ICs as a matter

of law. Thus, should the Court reach this issue, it should reverse and render in FS

Blinds’ favor. At the very least, the Court should affirm the District Court’s Order

finding a genuine issue of material fact.




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                                 CONCLUSION

      For the foregoing reasons, Appellee FS Blinds, LLC respectfully asks that this

Court affirm the District Court’s Order granting FS Blinds, LLC’s Motion for

Summary Judgment, and denying Appellants’ Partial Motion for Summary

Judgment Regarding Affirmative Defenses and Motion for Summary Judgment

Regarding Liability and Damages. In the unlikely event the Court reverses the

District Court’s Order on the issue of Appellants’ prima facie burden of proving

uncompensated overtime, the Court should hold Appellants were not employees of

FS Blinds, LLC and reverse and render in FS Blinds’ favor on that issue. At a

minimum, FS Blinds, LLC respectfully asks the Court to affirm the District Court’s

Order finding a genuine issue of material fact exists regarding whether Appellants

were employees.




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                         CERTIFICATE OF SERVICE

      I hereby certify that this Brief of Appellee was electronically filed with the

United States Fifth Circuit Court of Appeals on July 11, 2022 and electronically

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                        CERTIFICATE OF COMPLIANCE

        The undersigned counsel certifies that this brief complies with the type-

volume limitation of Federal Rule of Appellate Procedure 32(a)(7)(B)(i).

       1.      The brief contains 12,896 words, excluding the parts of the brief
               exempted by Federal Rule of Appellate Procedure 32(f).

       2.      The brief has been prepared in a proportionally spaced typeface in
               Times New Roman 14 point font in text and Times New Roman 12
               point font in the footnotes.

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